        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 1 of 6




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                 )
                                          ) Case No. 21-CR-35/3:21-mj-02956
                   v.                     ) EMMET G. SULLIVAN
                                          ) Judge, United States District Court
 RONALD COLTON MCABEE                     )

 RESPONSE TO THE GOVERNMENT’S MOTION FOR EMERGENCY STAY AND
            FOR REVIEW AND APPEAL OF RELEASE ORDER

      The accused, Ronald Colton McAbee, respectfully responds to the

government’s motion challenging the Magistrate Judge’s order releasing him on

conditions pursuant to the Bail Reform Act. (Gov’t Mot., R.108.) Because the Court

has already granted an emergency stay and set a hearing, McAbee will address

only the government’s argument that the Magistrate Judge’s order should be

reversed and replaced with an order of detention. The government argues that

McAbee, who was part of the mob at the January 6th riot at the Capitol, poses a

danger to society or to the judicial process on the theory that he might engage in

political violence or might tamper with evidence or witnesses. (Id. at 19-22.)

      “In our society, liberty is the norm, and detention prior to trial or without

trial is the carefully limited exception.” United States v. Salerno, 481 U.S. 739, 755

(1987). Thus, a defendant cannot be detained pending trial on grounds of
        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 2 of 6




dangerousness unless the court “determines that the defendant’s history,

characteristics, and alleged criminal conduct make clear that he or she poses a

concrete, prospective threat to public safety.” United States v. Munchel, 991 F.3d 1273,

1280 (D.C. Cir. 2021) (italics added). When applying this standard to a defendant

accused of crimes related to the Capitol riot, the court must consider the fact that

the circumstances of that day gave many people a “unique,” and hence unlikely to

recur, “opportunity” to obstruct the political process. Id. at 1284. The Court has a

“grave constitutional obligation” to leave a defendant at liberty unless the Court

first “ensure[s] that the facts and circumstances” of the particular defendant’s case

warrant detention under the clear-and-convincing standard of proof. Id. at 1285.

      The government, declining to address McAbee’s history and characteristics,

asserts essentially that his alleged criminal conduct in and of itself clearly shows

that McAbee poses a concrete, prospective threat to society. It asserts that McAbee:

(1) swung at officer C.M.; (2) pinned down officer A.W. for 25 seconds; and, (3)

participated in a collective tug-of-war over the movement of officer A.W. (Gov’t

Mot., R.108 at 6-9.) And it asserts that McAbee tried to use his law-enforcement

uniform, which said “sheriff,” to gain entry into a passageway outside the Capitol.


                                            2
        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 3 of 6




(Id. at 17.) Finally, it emphasizes the he wore reinforced-knuckle gloves, at one

point had a baton, and wore some three-percenter badges, indicating he belonged

to, or at least purported to belong to, an antigovernment movement. (Id. at 10, 17-

18.) These facts prove, according to the government, that McAbee clearly poses the

requisite danger to society. (Id. 20-21.)

      According to the findings of the Magistrate Judge, these “facts” are not

actually true, but rather are overstatements of McAbee’s conduct. Before ruling, the

Magistrate Judge carefully re-reviewed the videos, not the mere still shots provided

in the government’s motion. (Ex. 1, Det. Hr’g Tr. (Excerpt) at 2.) The Magistrate

Judge found the following regarding the government’s allegations.

          • As for allegedly swinging at officer C.M., McAbee “push[ed] a police

             officer after the police officer pushed him,” which, although wrongful,

             was not the aggressive act described by the government. (Id. at 11.)

          • As for allegedly pinning down officer A.W. for 25 seconds, the

             evidence about what was occurring at that chaotic moment is

             “conflicting,” but McAbee certainly was not on the “offensive.” (Id.)




                                            3
        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 4 of 6




         • As for allegedly using his law-enforcement status to try to make entry,

             McAbee was simply trying to get out of the fray at that point because

             he had suffered an injury. (Id. at 12.)

         • As for the baton, McAbee “chose not to use” it. (Id. at 10.)

      In sum, the Magistrate Judge found that, although the government had

shown that “horrific” crimes were committed and that McAbee was “front and

center” in the mob, the government had failed to produce any evidence whatsoever

that McAbee had personally engaged in “offensive actions” that day. (Id. at 5, 10.)

As for McAbee’s mindset, the Magistrate Judge pointed out that the government

had failed to produce any relevant text message post-dating January 10, 2021, and

that there is “nothing to support this idea that he’s continually affiliated with the

Proud Boys or any other antigovernment organization.” (Id. at 16, 17.) Accordingly,

the Magistrate Judge concluded that the record, when considered in its entirety,

indicates McAbee did not act offensively and aggressively and that he did not have

sustained ties to any dangerous group.

      Furthermore, as required by statute, the Magistrate Judge considered

McAbee’s history and characteristics. McAbee had no criminal record whatsoever.


                                            4
        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 5 of 6




(Id. at 12.) Nor was there any “evidence of prior dangerousness or violence from his

past or history.” (Id. at 12; see also id. at 14-15.) Plus, McAbee had “strong ties to the

community” and several strong character witnesses. (Id. at 12, 13, 18.) After the

January 6th riot, he returned to his home, family, and job. (Id. at 4.)

      Finally, the Magistrate Judge pointed out that McAbee had not committed

any dangerous act or shown any dangerous propensities in the eight-month period

before his arrest in August 2021. (Id. at 14-15.) Indeed, as the Magistrate Judge

further pointed out, the government had allowed McAbee to remain at large for

three months after having already located him, which was a decision suggesting

McAbee did not appear so dangerous. (Id. at 15-16.)

      For all these reasons, the Magistrate Judge’s decision should not be reversed.

McAbee did not engage in any actual assault; he lacked continuing ties to any

dangerous group; as of January 6th, he had lived decades as a stable and law-

abiding citizen; and, following January 6th, he has continued to live entirely

responsibly without showing the least sign of danger to society. The government’s

evidence fails to satisfy its burden of “clear[ly]” proving that McAbee “poses a

concrete, prospective threat to society,” either by engaging in political violence or


                                             5
        Case 1:21-cr-00035-EGS Document 113 Filed 09/14/21 Page 6 of 6




tampering with evidence or witnesses that the government has failed to even

identify with specificity. Munchel, 991 F.3d at 1280. The District Court should

sustain the Magistrate Judge’s order, which requires McAbee to remain on home

confinement with an ankle bracelet.



                                       Respectfully submitted,



                                       /s/ Isaiah S. Gant
                                       ISAIAH S. GANT (BPR# 025790)
                                       Assistant Federal Public Defender
                                       810 Broadway, Suite 200
                                       Nashville, TN 37203
                                       615-736-5047

                                       Attorney for Ronald C. McAbee



                             CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2021, I electronically filed the foregoing
pleading with the U.S. District Court Clerk by using the CM/ECF system, which
will send a Notice of Electronic Filing to the following: Colleen Kukowski,
Assistant United States Attorney, Judiciary Center, 555 4th St. N.W., Washington
DC 20530, this 13 day of September, 2021.



                                       /s/ Isaiah S. Gant
                                       ISAIAH S. GANT

                                           6
